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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA ex rel.
 SARAH BEHNKE,
                                                        Civil Action
                         Plaintiff,
                                                        No. 14-cv-824
                    v.

 CVS CAREMARK CORPORATION et
 al.,

                         Defendants.


                                              ORDER

        AND NOW, this 25th day of June, 2025, following a bench trial and review of the trial

record, and upon consideration of Relator’s Proposed Findings of Fact and Conclusions of Law

(ECF Nos. 480, 487), Defendants’ Proposed Findings of Fact and Conclusions of Law (ECF Nos.

479, 488), the Parties’ Responses thereto (ECF Nos. 482, 483, 489, 490), all other post-trial

submissions, and for the reasons set forth in the accompanying Memorandum Opinion, I find as

follows:

        1.     Relator has met her burden of proof on her presentment and false statement claims

(Counts I and II). Relator has not met her burden on her reverse false claim cause of action (Count

III).

        2.     Relator has met her burden on liability under Counts I and II as it relates to:

               a.        Falsity as to Caremark’s Relationship with Walgreens and Rite Aid;
               b.        Materiality;
               c.        Causation;
               d.        Scienter;
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       3.      Relator has not met her burden on liability as it relates to:

               a.      Falsity as to Caremark’s Relationship with CVS Pharmacy;
               b.      CVS Health Corporation’s liability;
       4.      Defendants’ Motion for Judgment as a Matter of Law (ECF No. 459) is DENIED;

       5.      Relator has proven pre-trebling and pre-statutory penalty damages in the amount of

$95,000,000;

       6.      The following schedule shall govern the Parties’ briefing on the issue of trebling

and statutory penalties:

            a. The Parties SHALL file opening briefs on the issue of trebling and statutory

               penalties no later than July 9, 2025;

            b. The Parties SHALL file responsive briefs no later than July 16, 2025.

                                              BY THE COURT:

                                              /s/ Mitchell S. Goldberg
                                              MITCHELL S. GOLDBERG, J.
